      Case 4:17-cv-00145-HCM-RJK Document 495 Filed 07/09/21 Page 1 of 1 PageID# 16670

                                     UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF VIRGINIA
                                                  NEWPORT NEWS DIVISION
                                                    Friday, July 9, 2021
MINUTES OF PROCEEDINGS via     ZoomGov
PRESENT: THE HONORABLE Henry Coke Morgan, Jr., Senior United States District Judge
Courtroom Deputy:                Lori Baxter
Law Clerk:                                                                 Reporter:    Carol Naughton, OCR

    Set:       11:00 a.m.                      Started:   11:00 a.m.           Ended:    11:41 a.m.

    Case No.       4:17cv145
                 Royce Solomon, et al.
                            v.
                 American Web Loan, Inc., et al


    Appearances:      Kathleen M. Donovan-Maher, Leonard A. Bennett, Kristi Kelly, Matthew B. Byrne, and
    David W. Thomas, Steven J. Buttacavoli, and Norman Berman for the Plaintiffs. Charles K. Seyfarth,
    Jonathan Paikin, Elizabeth S. Turner, Saba Bazzazieh, Simon A. Latcovich, Robert M. Cary, Francisco Perez,
    Christopher E. Ondeck, Mark Sosnowsky, Matthew Fedor, Drew Sarrett, and Jason Causey for the
    Defendants.


    Hearing held re [488] Plaintiff’s Motion for Final Approval of Revised Class Action Settlement. Arguments
    of counsel. Comments of Court. For the reasons stated on the record, the Court GRANTS the motion and
    ENTERS the Order Granting Motion for Final Approval of Revised Class Action Settlement, Certifying
    Settlement Class, and Entering Final Judgment.        Court adjourned.
